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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. ________________

  BLACKSTONE LABS LLC,
      Petitioner,

  v.

  UNITED STATES OF AMERICA;
  UNITED STATES FOOD AND
  DRUG ADMINISTRATION; and
  SCOTT GOTTLIEB, solely in his
  official capacity as Commissioner of
  the Food and Drug Administration,
         Respondents.
  _______________________________/

   PETITION BY BLACKSTONE LABS LLC FOR RETURN OF SEIZED
  PROPERTY PURSUANT TO RULE 41(G) OF THE FEDERAL RULES OF
                   CRIMINAL PROCEDURE
        Blackstone Labs, LLC (“Blackstone”), pursuant to Rule 41(g) of the Federal

  Rules of Criminal Procedure, seeks the return of property and currency seized by the

  United States Food and Drug Administration in Palm Beach County, Florida on or

  about February 17, 2017, pursuant to a Search and Seizure Warrant issued by U.S.

  Magistrate Judge William Matthewman. The continued deprivation of Blackstone’s

  property without the initiation of any further government action is illegal,

  unconstitutional, and unwarranted. This court should issue an order directing the

  prompt return of all seized property.




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  I.    INTRODUCTION.
        On or about February 17, 2017, in Boca Raton, Florida, the United States

  executed a Search and Seizure Warrant at the premises of Blackstone Labs, LLC.

  The Search and Seizure Warrant with inventory will be filed under seal. The law

  enforcement raid was coordinated by the U.S. Food and Drug Administration

  through its Office of Criminal Investigations, based upon a search warrant

  application supervised and obtained by the U.S. Department of Justice. The agents

  seized more than $1 million in nutritional supplement products, computerized

  documents and information, many pages of company business documents, and

  $223,430.40 from the company bank account. Appended as Attachment A is a copy

  of a Cashier’s Check representing the government’s seizure of funds from

  Blackstone’s bank account.

        The government seizure effectively hindered and crippled Blackstone’s

  successful dietary supplement business. Blackstone has endeavored to continue its

  business operations despite the law enforcement seizure. But now, after the passage

  of nearly eighteen (18) months since the seizure, the government’s refusal to return

  the property and funds despite Blackstone’s request is causing irreparable harm. All

  the nutritional supplement products seized are perishable and have a maximum shelf

  life of two years, upon which expiration the inventory will be worthless.

        This motion concerns the seizure and retention of Blackstone’s commercial


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  products that are neither contraband nor an integral part of the government

  investigation, including but not limited to these described products:

  •     Anesthetized
  •     Anogenin
  •     Brutal 4ce
  •     Chosen 1
  •     Cobra 6 Extreme
  •     Cobra 6 Extreme Powder Kiwi Strawberry
  •     Cobra 6 Extreme Powder Watermelon
  •     Dust Black Lemonade
  •     Dust Blue Sky
  •     Dust Cotton Candy
  •     Dust Red Ice
  •     Dust Watermelon
  •     Dust Extreme Pineapple
  •     Dust Extreme Sour Gummy
  •     Eradicate
  •     Euphoria
  •     Gear Support
  •     Gear Support Raspberry Lemonade
  •     Growth
  •     Growth Pineapple
  •     PCTV

        The value of these commercial products has further diminished over their time

  in government custody due to what is believed to be the government’s failure to

  properly store the products per specifications in a climate-controlled facility. If the

  commercial grade products have been exposed to the elements or have not been

  properly stored for any significant period of time, the damage to the property and its

  diminution in value is likely permanent, thus depriving Blackstone of the value of

  its property.


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        The government has not put forth evidence identifying any basis to believe

  that subject products contain controlled substances or are misbranded. Nor has the

  government provide a linkage of the funds taken from Blackstone’s bank account to

  any illicit activity. Yet, the government continues to deny Blackstone possession of

  its property, including money. Because the government has no reasonable basis for

  the continued retention of the property, the products and money should be

  immediately returned to Blackstone pursuant to Rule 41(g) of the Federal Rules of

  Criminal Procedure.

  II.   GROUNDS FOR RETURN OF SEIZED PROPERTY.
        Rule 41(g) provides that “a person aggrieved by an unlawful search and

  seizure of property or by the deprivation of property may move for the property’s

  return.” The rule “authorizes anyone aggrieved by a deprivation of property to seek

  its return.” United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1173

  (9th Cir. 2010) (en banc). When, as here, the property was seized pursuant to an

  ongoing investigation, the movants must show: (1) they are lawfully entitled to the

  seized property; (2) the property is not contraband; and (3) the government has no

  need to use the property as evidence. United States v. Shalash, No. Civ. A. 05-56-

  KSF, 2005 WL 1593937, at *1 (E.D. Ky. 2005) (citing Ferreira v. United States,

  354 F. Supp. 2d 406 (S.D.N.Y. 2005)).

        When no criminal proceedings are pending, as is the situation here when an


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  indictment has not been filed, a Rule 41(g) motion is treated as a civil action in

  equity. See United States v. Dean, 80 F.3d 1535, 1542 n.6 (11th Cir. 2005) (“Federal

  courts have developed the doctrine of ‘equitable’ or ‘anomalous’ jurisdiction to

  enable them to take jurisdiction over property in order to adjudicate ‘actions for the

  return of unlawfully seized property even though no indictment has been returned

  and no criminal prosecution is yet in existence.’”) (citation omitted); see also United

  States v. Howell, 425 F.3d 971, 974 (11th Cir. 2005) (a Rule 41(g) motion “is a

  motion in equity, in which courts will determine all the equitable considerations in

  order to make a fair and just decision”); United States v. Castro, 883 F.2d 1018,

  1020 (11th Cir. 1989) (“Rule 41(e), Fed. R. Crim. P., is ‘a crystallization of a

  principle of equity jurisdiction.’”) (citation omitted); In re Southeastern Equipment

  Co. Search Warrant, 746 F. Supp. 1563, 1572 (S.D. Ga. 1990) (“A motion under

  41(e) has always been treated as one invoking the equity jurisdiction of the Court.

  The Eleventh Circuit in particular has assumed jurisdiction over such motions in the

  form of requests under Rule 41(e) or simply through the Court’s own inherent

  jurisdiction.”).

         The doctrine of equitable jurisdiction is based on federal courts’ “well

  established supervisory authority over officers of the court.” In re $67,470, 901 F.2d

  1540, 1544 (11th Cir. 1990). The doctrine enables district courts to exercise

  jurisdiction over seized property prior to indictment, and the Eleventh Circuit has


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  emphasized that “[t]he decision to invoke equitable jurisdiction is highly

  discretionary and must be exercised with caution and restraint. Such jurisdiction,

  therefore, is only appropriate in exceptional cases where equity demands

  intervention.” Id. at 1544; see also Hunsucker v. Phinney, 497 F.2d 29, 33 (5th Cir.

  1974) (“But even if the District Court’s power over its officers provides a theoretical

  basis for jurisdiction in this case, it does not automatically follow that this unique

  power should be exercised wherever it exists. Rather such jurisdiction should be

  exercised with ‘caution and restraint,’ and ‘subject to equitable principles.’”)

  (citations omitted); In re Southeastern Equipment Co., 746 F. Supp. at 1572

  (“Equitable jurisdiction is deemed to be ‘extraordinary’ and, thus, should not be

  exercised in every situation as to make such a jurisdiction ordinary. This is especially

  so at the pre-indictment stage, where it is necessary to consider what interruption, if

  any, such an exercise would play on any ongoing investigations and proceedings.”).

  “In other words, [equitable] jurisdiction is appropriate only when the petitioner’s

  conduct and the merits of his petition require judicial review to prevent manifest

  injustice.” United States v. Eubanks, 169 F.3d 672, 674 (11th Cir. 1990).

        Importantly, the Eleventh Circuit has directed that courts be guided by the

  following factors in determining whether a manifest injustice requiring the exercise

  of jurisdiction exists:

        (1) whether the government agents seized the property in callous
        disregard for the constitutional rights of the petitioner;
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        (2) whether the petitioner has an individual interest in and need for the
        material he seeks to have returned;

        (3) whether the petitioner would be irreparably injured by denial of the
        return of the property; and

        (4) whether the petitioner has an adequate remedy at law.

  United States v. Quezada, 439 Fed. Appx. 824, 827 (11th Cir. 2011) (quoting Matter

  of Sixty Seven Thousand Four Hundred Seventy Dollars ($67,470.00), 901 F.2d

  1540, 1545 (11th Cir. 1990)). See Bennett v. United States, 12-61499-CIV, 2013 WL

  3821625, at *14 (S.D. Fla. July 23, 2013) (applying the four-factor test to a Rule

  41(g) motion for return of property).

        That manifest injustice is present here. The government has not identified or

  described the storage conditions for the property, leaving Blackstone with a

  reasonable concern that the property is stored in sub-optimal conditions in callous

  disregard of Blackstone’s Fourth Amendment interests in the seized property.

  Further, as discussed in Section III, the products seized were taken pursuant to an

  overbroad and facially invalid warrant. Even more, Blackstone’s individual interest

  in and need for these products as well as the irreparable injury caused by the

  government’s failure to return the nutritional supplements that are not part of its

  investigation is undeniable. Blackstone is still an operational business, but suffering

  because of the continued deprivation of its products and money. And with each

  passing day, no matter what the government eventually does with the property, the

  seized inventory is lessening in value and rapidly becoming near-worthless to
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  Blackstone. Finally, there is no other remedy at law for Blackstone. Once expired,

  the products are useless.

        The government’s failure to institute proceedings within a reasonable period

  of time to justify the seizure and retention of property provides an adequate ground

  for ordering the return of Blackstone’s property. United States v. Sims, 376 F.3d 705,

  708 (7th Cir. 2004); In re Documents and Other Possessions at Metropolitan

  Correctional Center, 228 F.R.D. 621, *623 (N.D. Ill. 2005). A property is subject to

  “deprivation of property” when the government holds seized property beyond the

  time it needs the property for investigative or prosecutorial purposes. United States

  v. Beach, 113 F.3d 188, 189-190 (11th Cir. 1997).

        The    government’s    protracted     retention    of   non-targeted   nutritional

  supplements for the unreasonable period of time of eighteen months merely bolsters

  the necessity of an order requiring the return of the inventory and money. See In re:

  Search of the Office of Ken Tylman, 245 F.3d 978, 980 (7th Cir. 2001); In re: Search

  of 2847 East Higgins Road, Elk Grove Village, Illinois, 390 F.3d 964, 965 (7th Cir.

  2004) ($12 million in cash seized from warehouse should have been returned as soon

  as it became apparent the money had no evidentiary value and was not the fruit of a

  crime). “The government will not be permitted to seize private property and then

  simply retain the property without any demonstration that the property is somehow

  necessary to the investigation, even if the seizure was executed pursuant to a valid


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  search warrant.” Interstate Cigar Co. v. United States, 928 F.2d 221, 224 (7th Cir.

  1991). “The person from whom the property is seized is presumed to have a right to

  its return, and the government must demonstrate that it has a legitimate reason to

  retain the property.” United States v. Potes Ramirez, 260 F.3d 1310, 1314 (11th Cir.

  2001); United States v. Crenshaw, 2004 WL 742100, *1 (N.D. Ill. 2004). To retain

  seized property, the government must provide a “legitimate reason” for the

  “continued possession of the seized property.” United States v. Price, No. 10-60243–

  CR–ZLOCH, 2011 WL 2651802, at *1 (S.D. Fla. 2011). The standard is always one

  of reasonableness.

        Courts uniformly find it unreasonable for the government to deprive an owner

  of property that is unrelated to the potential criminal activity to be charged and that

  otherwise has no evidentiary value. See, e.g., United States v. White, No. 12-2833-

  MJ, 2013 WL 141147, at *3 (S.D. Fla. 2013) (ordering property return including a

  rare coin collection when property had no reasonable evidentiary value); Shalash,

  2005 WL 1593937, at *3 (ordering return of items seized pursuant to search warrant

  that were “not related in any way to the allegations of criminal activity”).

        Here, the government has had continued and exclusive possession of

  Blackstone’s commercial nutritional supplements for eighteen months. These

  products identified for return are not related to the government’s investigation. In

  the intervening time since the seizure, the property has quickly approached its two-


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  year shelf life expiration date. Absent a demonstration of a valid reason for its

  continued deprivation of the Blackstone commercial goods and money needed to

  continue its business, the government should be ordered to return the property

  immediately “to the rightful owner.” Henderson v. United States, __ U.S. __, 135 S.

  Ct. 1780, 1784 (2015).

  III.   GOVERNMENT’S    CONTINUED    DEPRIVATION   OF
         BLACKSTONE’S LAWFUL NUTRITIONAL SUPPLEMENTS IS
         UNWARRANTED.
         The Blackstone products at issue in this motion are lawful dietary

  supplements. The government’s authorization in the warrant to seize items “that

  constitute fruits, contraband, evidence and instrumentalities relating to violations of

  the Food, Drug, and Cosmetic Act (21 U.S.C. §§ 331(a), 331(d), 331(v) and 333(a))”

  provided no specifications as to how an agent should make that determination. In

  light of the fact that Blackstone distributes many dietary supplement products, the

  overbroad and unparticularized warrant permitted agents to seize the bulk of

  Blackstone’s inventory, regardless of whether products had any relationship to the

  investigation. Because the identified legitimate products were taken pursuant to an

  overbroad and facially invalid warrant, the seizure was unlawful and the products

  must be returned. See Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1173-74

  (9th Cir. 2010) (en banc) (ordering return of property seized pursuant to

  unconstitutional search), abrogated on other grounds, Hamer v. Neighborhood


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  Hous. Servs. Of Chi., __ U.S. __, 138 S. Ct. 13, 16-17 (2017).

        Notwithstanding any legitimate reasons, if any, for the initial seizure, there is

  no reasonable basis for the continued retention of Blackstone’s lawful dietary

  supplements that are not contraband.

        Blackstone satisfies every element necessary to obtain return of its products

  and money under Rule 41(g).

  IV.   CONCLUSION.

        The government’s seizure and continued deprivation of Blackstone’s lawful

  business property and money is causing irreparable injury to Blackstone. The

  amount of time the property has been in the government’s possession is unreasonable

  and unfair. Blackstone has a pressing need for the property, without which its

  business interests are being adversely impacted every day. Without any adequate

  remedy at law – money damages after the fact or a delayed property return will come

  too late once the property has no value or Blackstone is forced out of business – the

  only available redress of Blackstone’s grievance is through the equitable return of

  its property. Therefore, in order to prevent a manifest injustice, this court must order

  the government to return Blackstone’s seized commercial property and bank account

  balance. Blackstone should be permitted to put its lawful dietary supplements that

  are not contraband to proper and legitimate business use.

                                          Respectfully submitted,


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